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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS
EARPLUG PRODUCTS LIABILITY
LITIGATION,                                 Case No. 3:19-md-2885

                                            Judge M. Casey Rodgers
                                            Magistrate Judge Gary R. Jones
This Document Relates to All Cases
______________________________/

                                    ORDER

      On June 10, 2020, the Court conducted a telephone hearing at the

request of the parties to address three unresolved discovery disputes in

this multidistrict litigation. For the reasons discussed on the record at the

telephonic hearing and as summarized below, the parties’ discovery

disputes are resolved as follows.

                      I. ADDITIONAL CUSTODIANS

      By way of background, since this litigation began last year

Defendants have collected, reviewed, and produced more than 50 custodial

files to the TAR corpus and, notably, produced 330,000 documents in

discovery. Plaintiffs now request to add six additional custodians: (1)

Steve Todor; (2) John Clingman; (3) John Jurney; (4) Selina Ramirez; (5)

Rafael Martinez; (6) Mike Edwards. Defendants resist designating

additional custodians on the bases that Plaintiffs’ requests are untimely
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and, alternatively, that production of these custodial files will not yield

relevant discovery.

       The Court construes this dispute as a motion to compel the

production of discovery. Plaintiffs, as the requesting party, must

demonstrate each custodian would provide “unique relevant information not

already obtained.”1 The Court weighs this showing against the obvious

burden on Defendants to collect, review, and produce a new custodial file

to the TAR corpus, which Defendants describe as an onerous process

taking several weeks to complete.2 Upon careful consideration, Plaintiffs’

motion is due to be GRANTED IN PART and DENIED IN PART.

       A. Aearo Operations Division

       Plaintiffs’ first request pertains to Mr. Todor, Mr. Clingman, and Mr.

Jurney, all of whom were employed in Defendant Aearo’s Operations

Division. The Court will address each individual in turn.


1 Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., 297 F.R.D. 99, 107 (S.D.N.Y.

2013); see also Garcia Ramirez v. U.S. Immigration and Customs Enforcement, 331
F.R.D. 194, 198 (D.D.C. 2019) (applying the “unique relevant information” standard for
designating additional custodians); In re EpiPen (Epinephrine Injection, USP) Mktg.,
Sales Practice and Antitrust Litig., No. 17-md-2785-DDC-TJJ, 2018 WL 1440923, at *2
(D. Kan. Mar. 15, 2018) (describing the “general principles” pertinent to a party’s request
to compel designation of disputed individuals as ESI custodians).
2 Willcox v. Lloyds TSB Bank, PLC, No. 13-508-ACK-RLP, 2015 WL 13811490, at *6 (D.

Haw. June 15, 2015) (weighing “the benefit of the information and documents” from a
custodian against “the burden on [the responding party] for collecting, reviewing, and
producing the documents”).

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      Mr. Todor was the Quality Assurance Manager of Aearo Operations

between 1996 and 2008, during which time Defendants developed the

CAEv2, the dual-ended Combat Arms earplugs that are the subject of this

litigation. Plaintiffs say that other discovery shows Mr. Todor was involved

with testing of and quality assurance for the CAEv2 and, in 2000, signed off

on a standard operating procedure for the CAEv2. Moreover, Mr. Todor

approved specification sheets for the component parts of the filter in the

CAEv2. Defendants argue that Mr. Todor’s custodial file would be

duplicative of three previously designated custodians, and Defendants

have already collected and added to the TAR corpus more than 9,000

emails and attachments sent from or to Mr. Todor.

      Mr. Clingman was the Production Manager of Aearo Operations

during the development of the CAEv2. He originated the standard

operating procedure for auditory assembly of the CAEv2. Defendants,

again, argue that Mr. Clingman’s custodial file would be duplicative of five

previously designated custodians, and Defendants have collected and

added to the TAR corpus more than 24,000 emails and attachments sent

from or to Mr. Clingman.

      Mr. Jurney was a manufacturing engineer for Aearo Operations

between 1995 and 2000. Mr. Jurney developed one of two standard


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operating procedures regarding assembly of the CAEv2, and Plaintiffs

claim that his role was distinct from other previously designated custodians

(Brian Myers, Dick Knauer, and Bob Klun) because those individuals did

not work in the Operations Division. Defendants state that Mr. Jurney did

not hold a unique role with Defendants during his employment and cite, as

an example, a document referring to Mr. Jurney as a “Team Member”

under the management of another custodian, Mr. Myers.

      The Court concludes, on balance, that the custodial files for Mr.

Todor and Mr. Clingman should be produced. Plaintiffs have demonstrated

that these files will likely yield unique and relevant information not already

obtained. Mr. Todor was a quality assurance manager with Defendants for

a significant period of time, which includes development of the CAEv2.

Similarly, Mr. Clingman was a production manager, and it is undisputed

that he originated standard operating procedures for the assembly of the

CAEv2. Plaintiffs’ showing significantly outweighs the burden on

Defendants to collect and produce these custodial files, particularly as to

Mr. Clingman because the prior production of more than 20,000 emails with

his name “mentioned” will likely not change the TAR corpus because these

emails will be deduplicated before the TAR tool is run with any other

additional documents obtained from his custodial file.


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      Plaintiffs, however, have failed to show that the production of Mr.

Jurney’s custodial file will result in any unique discovery. Mr. Jurney was

only a team member along with other designated custodians. The

likelihood that his custodial file will include any relevant discovery not

already obtained is slight in comparison to the burden on Defendants of

collecting the data, adding it to the TAR corpus, and completing any

necessary linear review.

      Therefore, Plaintiffs’ motion to compel is due to be granted to the

extent Defendants must collect, review, and produce responsive

documents in the custodial files for Mr. Todor and Mr. Clingman. Plaintiffs’

motion is denied as to Mr. Jurney.

      B. Aearo Technologies de Mexico

      Plaintiffs next request that Defendants collect data from the files of

two employees of Defendant Aearo’s subsidiary in Mexico (Aearo

Technologies de Mexico or “ATM)—Ms. Ramirez and Mr. Martinez. Ms.

Ramirez was a customer service manager at ATM from 2004 to 2013, and

she was responsible for transmitting CAEv2 testing information from ATM

to Defendants. Unlike any previously designated custodian, Ms. Ramirez

worked in Mexico and was able to observe the assembly, testing, and

packaging of the CAEv2 during her employment. Plaintiffs say this is


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relevant to their design defect claims, namely the issue of whether there

were post-production design and manufacturing issues, which impacted

compliance with specifications and in turn testing. Mr. Martinez was

employed in ATM’s Quality Department. Plaintiffs assert that prior

discovery in this litigation demonstrates Mr. Martinez was “knowledgeable”

about the earplug production process and that he may have possessed

information relevant to post-production design and manufacturing issues

with the CAEv2.

      Defendants argue that Ms. Ramirez is duplicative of two designated

custodians and that more than 2,800 emails and attachments sent to or

from Ms. Ramirez have been added to the TAR corpus. Further,

Defendants challenge Plaintiffs’ assertion that Mr. Martinez held a role

relevant to their claims as to the CAEv2. Defendants explain that the

burden of production here is more arduous than obtaining custodial files in

the United States because they will need to investigate whether ATM, as a

separate subsidiary, possesses the relevant custodial files and, if so, how

to obtain the data for production.

      As an initial matter, the Court concludes that the production of

custodial files from ATM is appropriate and necessary in view of Plaintiffs’

design defect claims, ECF No. 704 at 47, and the fact that at least part of


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the assembly of the CAEv2 took place at ATM. Turning to Plaintiffs’

requested custodians, the Court finds that Plaintiffs have demonstrated Ms.

Ramirez’s custodial file will yield unique and relevant information. Ms.

Ramirez had some involvement with the assembly of the CAEv2 at ATM,

she had contact with Defendants regarding this product, and she was

employed during the relevant time period. Plaintiffs have failed to show

that Mr. Martinez had a unique role at ATM or was involved in the assembly

of the CAEv2. Lastly, there have been no other custodial files of ATM

employees collected and produced so far in this case.

      The Court appreciates the burden on Defendants to produce Ms.

Ramirez’s custodial file from a subsidiary in Mexico, but Plaintiffs’ showing

as to Ms. Ramirez—and as to the relevance of ATM generally—outweighs

this burden. Therefore, Plaintiffs’ motion to compel is due to be granted to

the extent Defendants must collect, review, and produce responsive

documents in Ms. Ramirez’s custodial file. Plaintiffs’ motion is denied as to

Mr. Martinez.

      C. Mike Edwards

      Finally, Plaintiffs request the Court direct Defendants to collect,

review, and produce the custodial file of Defendants’ former employee Mike

Edwards. Mr. Edwards was a District Sales Manager in the Military Sales


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Group from 2005 to 2007. Of interest to Plaintiffs, Mr. Edwards was a “key

player” in Defendants’ “Operation Cobra,” which Plaintiffs describe as a

marketing strategy to “carpet bomb” the military with key products including

the CAEv2.

      Defendants argue that Mr. Edwards’ custodial file would be

duplicative of four previously identified custodians (Frank Gavin, Michael

Harrison, Tom Thomson, and Ronda Notter). Plaintiffs, however, point out

that no custodial files for Mr. Gavin, Mr. Harrison, and Mr. Thomson were

ultimately produced because Defendants could not locate the files. And as

to Ms. Notter Plaintiffs highlight that she was not involved in Operation

Cobra.

      In view of Mr. Edwards’ involvement in the marketing of the CAEv2

through Operation Cobra and the fact that other custodians have not

produced relevant documents on this marketing strategy, the Court

concludes that Plaintiffs have made a sufficient showing that production of

Mr. Edwards’ custodial file will yield unique and relevant information not

otherwise obtained. This showing outweighs any burden on Defendants to

collect, review, and produce this custodial file. Therefore, Plaintiffs’ motion

to compel is due to be granted to the extent Defendants must collect,

review, and produce responsive documents in Mr. Edwards’ custodial file.


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                       II. PLAINTIFFS’ PRIVILEGE LOGS

       The parties also addressed with the Court a dispute as to the extent

of the information in the Bellwether Plaintiffs’ forthcoming privilege logs. In

short, Defendants’ concern stems from the Court’s prior rulings that the

Bellwether Plaintiffs have not placed their mental health “in controversy” so

as to require the production of mental health records in discovery. See

ECF Nos. 1108, 1154. Defendants request the Court to direct Plaintiffs to

include in their privilege logs sufficient information for them to evaluate the

Bellwether Plaintiffs’ claims of doctor-patient or psychotherapist-patient

privilege as to the mental health records, including the type of provider and

the location of treatment.

       Because the Bellwether Plaintiffs have not placed their mental health

in controversy at this juncture, the Court will not require them to provide the

information requested by Defendants. That is, the mental health records

are not otherwise discoverable so as to require the Bellwether Plaintiffs to

include specific information pertaining to the assertion of a doctor-patient or

psychotherapist-patient privilege. 3



3  See Fed. R. Civ. P. 26(b)(5) (“When a party withholds information otherwise
discoverable by claiming that the information is privilege or subject to protection as trial-
preparation material, the party must: (i) expressly make the claim; and (ii) describe the
nature of the documents, communications, or tangible things not produced or disclosed—

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      That being said, the Bellwether Plaintiffs’ privilege logs need to detail

the nature of the documents being withheld (or the information being

redacted) in the event those documents eventually become relevant. The

Court, therefore, directs the Bellwether Plaintiffs to include the following

information in their privilege logs as to each withheld document or

redaction: (1) the date; (2) the identifying Bates number(s); (3) the author or

creator; (4) whether the document or information was copied or distributed

to a third party (if that information is readily available on the face of the

document); (5) a brief description of the document or redaction (such as,

“progress notes”); and (6) the reason for withholding or redaction. This

information will be sufficient for the parties to confer on the legitimacy of the

Bellwether Plaintiffs’ privilege claims or, in appropriate circumstances, the

relevance of the documents or information being withheld.

              III. BELLWETHER PLAINTIFFS’ ESI PROTOCOL

      Lastly, the Court addressed a dispute between the parties over

whether the Bellwether Plaintiffs must utilize particular search terms when

reviewing potentially relevant electronically stored information (“ESI”) for

production to Defendants. The Court’s rulings regarding the search terms



and do so in a manner that, without revealing information itself privileged or protected,
will enable other parties to assess the claim.” (emphasis added)).

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are included in a separate order, Pretrial Order No. 42 (the “Order

Governing Bellwether Plaintiffs’ Obligation to Review and Produce

Electronically Stored Information”).

      DONE AND ORDERED this 11th day of June 2020.

                                            s/Gary R. Jones
                                            GARY R. JONES
                                            United States Magistrate Judge




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